

Matter of Schechter (2023 NY Slip Op 01348)





Matter of Schechter


2023 NY Slip Op 01348


Decided on March 16, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 16, 2023

PM-51-23
[*1]In the Matter of Jody Erin Schechter, an Attorney. (Attorney Registration No. 4902326.)

Calendar Date:March 13, 2023

Before:Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ.

Jody Erin Schechter, Spring, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jody Erin Schechter was admitted to practice by this Court in 2011 and lists a business address in Spring, Texas with the Office of Court Administration. Schechter now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Schechter's application.
Upon reading Schechter's affidavit sworn to February 7, 2023 and filed February 24, 2023 and upon reading the March 3, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Schechter is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Jody Erin Schechter's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Jody Erin Schechter's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jody Erin Schechter is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Schechter is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jody Erin Schechter shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








